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ULEMK, OS. DISTRICT COURT
IN THE UNITED STATES DISTRICT COURT eT ELEVELAND of OHIO
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, ) INDICTMENT

)

Plaintiff, )
)
) 1 ;
v. ) CASE 569 CR 00585

) Title 18, United States Code,
BRIAN LUMBUS, JR., aka B, ) Sections 2, 1956(a)(2)(B)(i) and
GIANCARLO MISEROTTI, aka KARL, ) (h); Title 21, United States Code,
BRIANNA LUMBUS, ) Sections 841(a)(1), (b)(1)(B),
KAYLA S. GOUDLOCK, ) (b)(1)(C), 843(b), 846 and
JENNIFER ROBINSON, ) 856(a)(2)
LATASHA HARRIS, )
DOMINIQUE HAMMOND, )
WANDA WARD, )
MARCHELLO LUMBUS, aka CHELLO, ) JUDGE RUIZ
JESSICA COCHRAN, )
BRAISIA LUMBUS, )

)

Defendants. )
)
)

COUNT I
(Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances,
21 U.S.C. §§ 841(a)(1), (b)(1)(B), (b)(1)(C) and 846)
The Grand Jury charges:

1. Beginning on or about April 28, 2016, and continuing through on or about
November 1, 2023, in the Northern District of Ohio, Eastern Division, and elsewhere, «
Defendants BRIAN LUMBUS, JR., aka B, GAANCARLO MISEROTTI, aka KARL; BRIANNA
LUMBUS, KAYLA S. GOUDLOCK, JENNIFER ROBINSON, LATASHA HARRIS,

DOMINIQUE HAMMOND, WANDA WARD, MARCHELLO LUMBUS, aka CHELLO,
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JESSICA COCHRAN, and BRAISIA LUMBUS did knowingly and intentionally combine,
conspire, confederate, and agree with others known and unknown to the Grand Jury, to possess
with intent to distribute and to distribute mixtures and substances containing a detectable
amounts of fentanyl, Isotonitazene, Metonitazene, Alpha-PiHP, and ADB-BUTINACA. As to
Defendants BRIAN LUMBUS, JR., GIANCARLO MISEROTTI, BRIANNA LUMBUS,
JENNIFER ROBINSON, and WANDA WARD, those Defendants conspired to possess with the
intent to distribute and to distribute 40 grams or more of a mixture and substance containing a
detectable amount of fentanyl, a Schedule II controlled substance, in violation of Title 21, United
States Code, Sections 841(a)(1) and (b)(1)(B). As to Defendants BRIAN LUMBUS, JR.,
GIANCARLO MISEROTTI, BRIANNA LUMBUS, KAYLA S. GOUDLOCK, JENNIFER
ROBINSON, LATASHA HARRIS, DOMINIQUE HAMMOND, WANDA WARD,
MARCHELLO LUMBUS, aka CHELLO, JESSICA COCHRAN, and BRAISIA LUMBUS,
they conspired to possess with the intent to distribute and to distribute a mixture and substance
containing a detectable amount of fentanyl, a Schedule II controlled substance, a mixture and
substance containing a detectable amount of Isotonitazene, a Schedule I controlled substance, a
mixture and substance containing a detectable amount of Metonitazene, a Schedule I controlled
substance, a mixture and substance containing a detectable amount of Alpha-PiHP, a Schedule I
controlled substance, and a mixture and substance containing a detectable amount of ADB-
BUTINACA, a Schedule I controlled substance, in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(C).

MANNER AND MEANS OF THE CONSPIRACY

2. It was part of the conspiracy that:
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A. BRIAN LUMBUS, JR. directed, from prison, to have kilogram quantities
of controlled substances imported from China, Italy, Mexico and other countries to redistributors
and customers who were part of the Drug Trafficking Organization (“DTO”) in the Northern
District of Ohio and other Districts in the United States.

B. GIANCARLO MISEROTTI arranged the exportation of kilogram
quantities of controlled substances from China to BRIANNA LUMBUS, HARRIS,
HAMMOND, K.M. (a person known to the grand jury but not indicted herein), MARCHELLO
LUMBUS, and JESSICA COCHRAN for redistribution at the direction of BRIAN LUMBUS,
JR..

C. BRIANNA LUMBUS, GOUDLOCK, MARCHELLO LUMBUS,
COCHRAN, and BRAISIA LUMBUS purchased narcotics for the DTO from GIANCARLO
MISEROTTI by sending payments through Bitcoin and Moneygram from the United States to
wallets in other countries.

D. BRIANNA LUMBUS and K.M. (a person known to the grand jury but not
indicted herein) distributed scheduled controlled substances to ROBINSON, HARRIS, and
WARD who redistributed the narcotics to customers in Tennessee and Kentucky, all at the
direction of BRIAN LUMBUS, JR.

E, Conspirators conducted drug trafficking activity by using telephones to
make and receive calls and to send and receive text or other electronic messages. Conspirators
also sent and received emails to conduct drug trafficking activities. To reduce the risk of being
detected by law enforcement, and to conceal the identity of the person using the device,
conspirators often used cellular telephones that had been obtained in the names of other persons

or in fictitious names.
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F. When using telephones, text messaging, and emails to conduct drug
trafficking activity, conspirators used slang terms, street terminology, or code words or phrases
to obscure and disguise the true nature of their activities and the true meaning of their
conversations.

ACTS IN FURTHERANCE OF THE CONSPIRACY

3. In furtherance thereof, and to effect the goals and conceal the existence of the
conspiracy, the defendants and others performed acts in the Northern District of Ohio and
elsewhere, including, but not limited to, the following:

4, On April 8, 2019, at approximately 1:21 p.m., BRIAN LUMBUS, JR. had a
phone conversation with HAMMOND and MISEROTTI. During the conversation, the three
discussed making “boom juice” [ADB-BUTINACA, a Schedule I controlled substance] and
selling it on the dark web. HAMMOND said, “Just got confirmation for the website that the
website builder is hosting for one year, plus all designs, with payment and promo codes the guy
wants $500. He will host the website discreetly for one year, hosting and the guy wants payment
with bitcoin and needs eight days.” BRIAN LUMBUS, JR. later told HAMMOND, “I want to
learn how to host a dark website where you become the administrator. Man, you just make
money off people just, you know what I’m saying?”

5. On or about August 10, 2019, HAMMOND received and possessed a parcel sent
from China weighing 0.88 kilograms.

6. On or about April 28, 2020, MISEROTTI sent a parcel weighing 0.5 kilograms to
HAMMOND using the alias “Tasha Williams” at XX XX Dickson Street, Pittsburgh,

Pennsylvania.
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7. On September 6, 2020, at approximately 8:26 a.m., BRIAN LUMBUS, JR. spoke
with HAMMOND via telephone. BRIAN LUMBUS, JR. informed HAMMOND that they need
to have china send the product straight to Karl in Italy so it does not have to go through customs
coming from China.

8. On or about September 6, 2020, MISEROTTI, utilizing the alias “Yuri Mihal”
sent a parcel to HAMMOND using the alias “Tasha Williams” at XX XX Dickson Street,
Pittsburgh, Pennsylvania.

9. On September 7, 2020, at approximately 8:54 p.m., BRIAN LUMBUS, JR. spoke
with HAMMOND via telephone. BRIAN LUMBUS, JR. asked, “You got it [parcel]?”
HAMMOND replied, “Yeah, Karl [MISEROTTI]] sent it to me.” During the conversation,
BRIAN LUMBUS, JR. asked, “I told you my plan right?” and then informed her, “First stuff
come in with E, I’m going to take the thing and put that on there [reference to mixing narcotics].
Whatever comes for Pablo’s people [referencing who next package is meant for].” HAMMOND
responded, “He [Pablo] has to get his stuff.”

10. On February 11, 2021, at approximately 12:41 p.m., MISEROTTI sent an email
to an unknown individual in China, representing himself as an American opioid retailer,
requesting prices for “Isotonitazene” [a Schedule I controlled substance].

11. On February 23, 2021, at approximately 11:36 a.m., MISEROTTI emailed
MARCHELLO LUMBUS and T.K. (a person known to the grand jury but not indicted herein)
photographs of a white powdered substance labeled as the “new stuff” [Isotonitazene, a Schedule
I controlled substance].

12. Onor about April 10, 2021, HAMMOND received and possessed a parcel from

China weighing 1 kilogram.
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13. On or about June 9, 2021, COCHRAN received and possessed a parcel from
China weighing 0.36 kilograms.

14. On June 11, 2021, at approximately 7:48 a.m., BRIAN LUMBUS, JR. spoke with
MISEROTTI via telephone. BRIAN LUMBUS, JR. said, “They [MARCHELLO LUMBUS and
COCHRAN] expect the 10 what it [new synthetic opioid] supposed to be. I can’t tell them it’s
the same as the yellow [Isotonitazene].” During the conversation BRIAN LUMBUS JR.
discussed what ratio to use in mixing the narcotics. During the discussion, MISEROTTI
informed him, “It is a new product.”

15. Onor about June 16, 2021, COCHRAN received and possessed a parcel from
China weighing 0.36 kilograms.

16. Onor about June 18, 2021, COCHRAN received and possessed a parcel from
China weighing 0.36 kilograms.

17. Onor about July 9, 2021 HAMMOND received and possessed a parcel from
China weighing 0.5 kilograms

18. On July 9, 2021, at approximately 1:00 p.m., BRIAN LUMBUS, JR. spoke with
MARCHELLO LUMBUS and COCHRAN in a three-way phone call. BRIAN LUMBUS, JR.
told both MARCHELLO LUMBUS and COCHRAN “T need you to take those boxes and Nique
[HAMMOND] is sending you something. When it get there I need you to give that to Rich. .
Pablo will then drop off money.”

19. On July 11, 2021, at approximately 2:21 p.m., BRIAN LUMBUS, JR. spoke with
MARCHELLO LUMBUS and COCHRAN in a three-way phone call. MARCHELLO
LUMBUS stated, “s**t supposed to be here yesterday.” And BRIAN LUMBUS, JR. told them,

“Give Rich, uh, three of those big things [drugs] that came here. You hear me?”
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20. On July 19, 2021, at approximately 1:16 p.m., MISEROTTI sent an email to
MARCHELLO LUMBUS stating, “ISO260 [Isotonitazene, a Schedule I controlled substance]
delivered today to the address LORAIN.”

21. Between July 11, 2021, and July 19, 2021, COCHRAN and MARCHELLO
LUMBUS received and possessed a parcel from China weighing 0.45 kilograms at XXXX
Fulmer Road, Lorain, Ohio.

22. On July 19, 2021, at approximately 11:22 a.m., BRIAN LUMBUS, JR. spoke
with MISEROTTI via telephone. MISEROTTI said, “package is on delivery today, I sent e-mail
to Marchello [MARCHELLO LUMBUS].” BRIAN LUMBUS, JR. then told MISEROTTI,
“Call Jess [COCHRAN].”

23. On July 19, 2021, at approximately 7:56 p.m., MISEROTTI emailed COCHRAN
stating, “The package has been delivered, brian [BRIAN LUMBUS, JR.] is trying to call you you
have to deliver the package and the W28 [W. 28" Street in Cleveland] to Pablo tonight.”

24. On October 13, 2021, at approximately 10:10 p.m., MISEROTTI sent an email to
BRIANNA LUMBUS, MARCHELLO LUMBUS, and BRAISIA LUMBUS with a photograph
of the new Isotonitazene, a Schedule I controlled substance.

25. On or about October 14, 2021 COCHRAN received a parcel from MISEROTTI
weighing 0.5 kilograms at XX XX Fulmer Road, Lorain, Ohio.

26. On October 15, 2021, at approximately 6:17 p.m., MISEROTTI emailed
COCHRAN informing her that the parcel was to be delivered.

27. On October 15, 2021, at approximately 9:11 p.m., COCHRAN emailed

MISEROTTI, “Can you send me the botcoin address again plz?”
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28. On October 15, 2021, at approximately, 9:47 p.m., MISEROTTI emailed
COCHRAN a 42-digit bitcon address and “........ 3750$ [$3,750].”

29. On October 14, 2021, at approximately 9:31 p.m., MISEROTTI sent an email to
BRIANNA LUMBUS, MARCHELLO LUMBUS, and BRAISIA LUMBUS with a photograph
of alpha-PHP, a Schedule I controlled substance.

30. On November 14, 2021, at approximately 7:59 p.m., MISEROTTI sent an email
to COCHRAN stating, “Tell marchello [MARCHELLO LUMBUS] to put 2100$ [$2,100] into
the bitcoin machine for the Turkish.”

31. On November 14, 2021, at approximately 9:30 p.m., MISEROTTI sent
COCHRAN a video with the subject, “New Synthetic cannabinoid from KOBEST” [alpha-PHP,
a Schedule I controlled substance].

32. On or about November 21, 2021, MARCHELLO LUMBUS received and
possessed a parcel from China weighing 0.157 kilograms

33. Onor about January 12, 2022, BRIANNA LUMBUS received and possessed a
parcel weighing 4 pounds from Italy under the alias “Ezella D Fordwaller’.

34. On or about May 17, 2022, GOUDLOCK and BRAISIA LUMBUS sent and
caused to be sent $14,990 in bitcoin from BRAISIA LUMBUS’ bitcoin wallet to a bitcoin wallet
belonging to MISEROTTI.

35. Onor about May 18, 2022, GOQUDLOCK and BRAISIA LUMBUS sent and
caused to be sent $14,205 in bitcoin from BRAISIA LUMBUS’ bitcoin wallet to a bitcoin wallet

belonging to MISEROTTI.
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36. On or about May 18, 2022, GOUDLOCK and BRAISIA LUMBUS sent and
caused to be sent $5 940 in bitcoin from BRIANNA LUMBUS’ bitcoin wallet to a bitcoin wallet
belonging to MISEROTTI.

37. Onor about May 20, 2022, MISEROTTI sent a package weighing 5 kilograms,
declared to contain “books” [k2 spice sheets], to BRIANNA LUMBUS.

38. On July 22, 2022, at approximately 9:55 p.m., MISEROTTI sent an email to
BRIAN LUMBUS, JR., BRIANNA LUMBUS, and T.K. (a person known to the grand jury but
not indicted herein), which included a bitcoin payment QR code and photos of at least eight large
plastic bags of an off-white powdered substance, labeled “picture of the semi-finished product.”

39, On July 25, 2022, at approximately 4:48 p.m., MISEROTTI sent an email to
BRIAN LUMBUS, JR. with directions labeled “Procedures 1” and “Procedures 2” with detailed
directions for manufacturing Scladba, a synthetic cannabinoid also known as K2 spice.

40, On July 31, 2022, at approximately 11:44 a.m., MISEROTTI emailed BRIANNA
LUMBUS with a bitcoin QR code and the message, “Resend me the Toledo address asap.”

41. On August 1, 2022, at approximately 12:14 am., BRIANNA LUMBUS emailed
MISEROTTI the Toledo address for HARRIS.

42. On August 1, 2022, at approximately 7:00 p.m., MISEROTTI emailed BRIANNA
LUMBUS a USPS tracking number.

43. On August 3, 2022, at approximately 5:19 p.m., MISEROTTI sent BRIANNA
LUMBUS an email that “package has been delivered in Toledo.”

44. On August 22, 2022, at approximately 1:26 a.m., T.K. (a person known to the
grand jury but not indicted herein) emailed MISEROTTL, stating “I need to make some money

can u help me[?]” MISEROTTI responded via email at approximately 4:32 p.m., “Do you have
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connections in jail to sell the sheets soaked with K2?” T.K. replied at approximately 4:33 p.m.,
“Yea I do but the jails been real funny” and then clarified, “Like it all depends on how u send
them n last time they just made copies.”

45, On or about September 15, 2022, BRIANNA LUMBUS sent and caused to be
sent $12,400 in bitcoin from BRIANNA LUMBUS’ bitcoin wallet to a bitcoin wallet belonging
to MISEROTTI.

46. Onor about September 28, 2022, BRIANNA LUMBUS and GOUDLOCK sent .
and caused to be sent $15,000 in bitcoin from BRIANNA LUMBUS’ bitcoin wallet to a bitcoin
wallet belonging to MISEROTTI.

47. On October 5, 2022, at approximately 6:12 p.m., BRIAN LUMBUS, JR.,
MISEROTTI, K.M. (a person known to the grand jury but not indicted herein), and BRIANNA
LUMBUS spoke on a telephone call. During the conversation, MISEROTTI said, “I just spoke
to the guy...he says you have to put more.acetone...the color is good but you’re using too much
powder. That’s what they say. The color is not normal, but you have to put more acetone.”

48. On October 5, 2022, at approximately 6:23 p.m., BRIAN LUMBUS, JR.,
MISEROTTI, BRIANNA LUMBUS, ROBINSON, and K.M. (a person known to the grand jury
but not indicted herein) had a phone conversation. During the conversation, BRIAN LUMBUS,
JR. said, “Brianna, the s**t that’s left at the bottom right quick...add some more acetone to it
right quick. Let me speak to Snake [K.M.] right quick.” During the conversation, K.M. stated,
“Tt’s falling to the bottom...it’s extracting to change the color but it’s still falling straight to the
bottom like sand.” Later in the conversation, BRIAN LUMBUS, JR. told MISEROTTI, “Ask
the Chinese people why it’s still not breaking down Karl [MISEROTTT], tell them it’s still not

breaking down Karl...send a message and tell them it's still not breaking down.”

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49, On October 5, 2022, at approximately 10:52 p.m., BRIAN LUMBUS, JR.,
BRIANNA LUMBUS and HARRIS spoke via telephone. During the phone conversation,
BRIAN LUMBUS, JR. asked, “So, all that s**t [papers that BRIANNA LUMBUS and K.M.
sprayed with K2] came out good you think?” BRIANNA LUMBUS replied, “Yeah, there’s a lot
on the paper.” BRIAN LUMBUS, JR. said, “So, you’re going to send those other things out
tomorrow right...that’s going to Tennessee to the white girl [ROBINSON] and California.”
BRIANNA LUMBUS replied, “I mailed it out today.”

50. On October 7, 2022, at approximately 12:15 p.m., BRIAN LUMBUS, JR. had a
phone conversation with WARD. BRIAN LUMBUS JR. said, “Yeah, what’s up Wanda
[WARD]? Yeah, I got that $600 you sent.” BRIAN LUMBUS JR. then said, “We are going to
be getting some more s**t down there [Tennessee] this weekend. I mean after the weekend and
s**t because I’m going to be mixing up some more s**t that’s going to be way stronger than
that.” WARD responded, “That’s awesome. Monday or Tuesday or something like that would
be amazing if we could do it then. You’ll have the balance by then.”

51. On or about October 11, 2022, at approximately 8:20 p.m., BRIAN LUMBUS,
JR. had a phone conversation with HAMMOND. BRIAN LUMBUS, JR. said, “So I got another
100 and shit for you.” HAMMOND responded, “Alright.” BRIAN LUMBUS, JR. then said,
“Yeah so, it’s...$600 a band altogether girl. I’ll have some more and s**t...I’m waiting on
somebody to pay me some money.”

52. On October 12, 2022, at approximately 6:46 p.m., BRIAN LUMBUS, JR. spoke
with BRIANNA LUMBUS, K.M. and MISEROTTI via telephone. During the conversation,
while discussing parcels that were missing narcotics expected to be delivered, BRIAN

LUMBUS, JR. stated, “No Karl...Karl, Karl, Karl [MISEROTT]]...we're talking about the 500

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grams is the XYL [Xylazine], the 100 grams is supposed to be the ISO [Isotonitazene, a
Schedule I controlled substance], and 20 grams Colona [Clonazepam, a Schedule IV controlled
substance]. That's what came from Pittsburgh...that's what went to ‘Nique’ [HAMMOND].”

53. On October 12, 2022, at approximately 8:30 p.m., BRIAN LUMBUS, JR. spoke
to ROBINSON via telephone. ROBINSON said, “So, I need to figure out how to...we need to
figure out how to get some more product in his [K.M.] hand then what you give him...give him
whatever he needs whenever he needs it...he missed 3 plays [drug transactions] for $800 or $900
while they were gone doing everything they were doing today because she [WARD] keeps
everything with her...so he didn't have anything. He's the one who brings in all the money.”

54, On October 13, 2022, at approximately 2:35 p.m., BRIAN LUMBUS, JR., had a
phone conversation with WARD. BRIAN LUMBUS, JR. said, “I got some s**t that’s going to
come down there [Tennessee]...I’m about to put it together...it’s going to be good...it’s going to
be better than that one.” BRIAN LUMBUS, JR. continued, “I’m going to boost it up and it’s
going to be better than what you got.” WARD asked, “It’s going out today you said?”

55. On October 22, 2022, at approximately 1:10 am., BRIAN LUMBUS, JR. had a
three-way phone conversation with K.M. (a person known to the grand jury but not indicted
herein) and ROBINSON. K.M. said, “I put 9 on there but it was an 8.” BRIAN LUMBUS, JR.
responded, “Ok, I can easily go to 6 or 7 then.” K.M. replied, “Yeah, you figure you put the pink
[Metonitazene, a Schedule I controlled substance] in there at 400...you know what I’m
saying...it’s going to be tight.” BRIAN LUMBUS, JR. stated, “We’re waiting on our order to
come...I’m sending that s**t to Tennessee and s**t.”

56. Later during the same conversation on October 22, 2022, at approximately 1:10

a.m., after K.M. left the conversation, BRIAN LUMBUS, JR. continued speaking with

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ROBINSON. During the conversation, BRIAN LUMBUS, JR. said, “So, he [IK.M.] said he took
it to a 9 and it was an 8 babe.” Then ROBINSON asked for an explanation, and BRIAN
LUMBUS, JR. explained, “That means that the 100 grams can go to 800...and the 100 grams
can go to 900 and it’s going to be an 8.”

57, ' Between October 13, 2022, and and October 26, 2022, MISEROTTI had a
package exported from India to “Brittany Lumbia” [BRIANNA LUMBUS] at XXXX Roy
Avenue, Cleveland, Ohio.

58. On October 27, 2022, at approximately 2:32 p.m., MISEROTTI sent an email to
BRIANNA LUMBUS, stating “the plate is on delivery today.”

59, On or about October 27, 2022, BRIAN LUMBUS, JR., ordered narcotics from
MISEROTTI, who sent them to BRIANNA LUMBUS who then sent the narcotics to
ROBINSON and WARD for further distribution causing the overdose death of B.M.

60. On or about October 27, 2022, WARD possessed 0.34 grams fluorofentanyl, a
Schedule I controlled substance; 100.57 grams fentanyl, a Schedule II controlled substance; and
0.42 grams methamphetamine, a Schedule II controlled substance.

61. On October 29, 2022, at approximately 5:49 p.m., BRIAN LUMBUS, JR. and
BRIANNA LUMBUS spoke via telephone. BRIANNA LUMBUS informed BRIAN LUMBUS,
JR. of WARD’s arrest and stated, “Wanda [WARD] is in jail for second degree murder and she
got caught with it, she got caught with the whole order [narcotics seized from WARD on
October 27, 2022].”

62. On November 1, 2022, at approximately 12:38 p.m., BRIAN LUMBUS, JR. and
MISEROTTI spoke via telephone. BRIAN LUMBUS, JR. said, “Man, we got to be careful man

for a second man...somebody died.” MISEROTTI responded, “Obhh...it was too strong.” After

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discussion of the details of the death, MISEROTTI said, “I think the ratio of the pink
[Metonitazene] was thick.”

63. On November 6, 2022, starting at approximately 4:04 p.m., BRIANNA LUMBUS
sent a series of emails to MISEROTTI with photos of the package that MISEROTTI mailed on
October 27, 2022.

64. On December 14, 2022, at approximately 2:49 p.m., BRIAN LUMBUS, JR.
spoke with MISEROTTI and BRIANNA LUMBUS in a three-way phone call. MISEROTTI
informed them that a package containing “A-PVP” [alpha-PiHP, a schedule I controlled
substance] was expected to arrive on Tuesday, and then an additional package would arrive the
following week.

65. Between December 14, 2022, and December 27, 2022, MISEROTTI caused a
package to be exported from India to “Brittany Lumbia” [BRIANNA LUMBUS] at XXXX Roy
Avenue, Cleveland, Ohio.

66. On or about January 10, 2023, BRIANNA LUMBUS attempted to possess a
parcel, which contained 245.75 grams of alpha-PiHP, a schedule I controlled substance.

67. On January 30, 2023, at approximately 7:46 a.m., BRIAN LUMBUS, JR. spoke
with HARRIS via telephone. BRIAN LUMBUS, JR. said, “When you send it and s**t send it of
um...regular USPS and s**t and send it umm...next day or some s**t so we could get there
faster and s**t.”

68. On or about January 31, 2023, HARRIS mailed and caused to be mailed a
package, which contained 200 Buprenorphine, a Schedule II controlled substance, Sublingual

Film and 50 sheets of blank off-white paper sprayed with ADB-BUTINACA, Schedule I

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substance, through USPS to BRIANNA LUMBUS at XXXX Dahlia Drive, Toledo, Ohio, which
was an address associated with BRIAN LUMBUS, JR. and BRIANNA LUMBUS.

69. On February 4, 2023, at approximately 8:16 p.m., BRIAN LUMBUS, JR. spoke
with BRIANNA LUMBUS and ROBINSON via telephone. BRIANNA LUMBUS stated that
she “prepared the golf ball [Alpha-PiHP].” BRIAN LUMBUS, JR., asked, “do the rocks in the
bag have something in it?” BRIANNA LUMBUS responded that she “cooked stuff into it.”

70. On or about February 5, 2023, ROBINSON possessed 80.27 grams of cyclohexyl
Methylone, a Schedule I controlled substance; 20.98 grams of alpha-PiHP and N-cyclohexyl
Methylone, both Schedule I controlled substances; 10.32 grams of alpha-PiHP, a Schedule I
controlled substances; 31.08 grams of alpha-PiHP, a Schedule I controlled substance and 4-
ANPP and fentanyl, both schedule II controlled substances.

71, On March 27, 2023, at approximately 11:33 a.m., BRIAN LUMBUS, JR. spoke
to MISEROTTI via telephone. BRIAN LUMBUS, JR. asked what the cost would be for 150
grams and 250 grams of the “yellow” [Isotonitazene, a Schedule I controlled substance].
MISEROTTI stated that the cost would be approximately $6,200 for the “yellow” [Isotonitazene,
a Schedule I controlled substance].

72. On March 27, 2023, at approximately 11:56 am., BRIAN LUMBUS, JR. spoke
with MARCHELLO LUMBUS via telephone. MARCHELLO added an unknown coconspirator
in the call in a three-way call. BRIAN LUMBUS, JR. asked the co-conspirator, “Hey why you
ain’t never had the dude call Chello [MARCHELLO LUMBUS] back and s**t, so he could put
the thing through?” Later, BRIAN LUMBUS, JR. asked, “Are they ready and s**t with bitcoin

and s**t man? That s**t going to come up to $6,600.”

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73, On or about June 26, 2023, COCHRAN received and possessed a parcel from
China weighing 1.14 kilograms.

74. On August 26, 2023, at approximately 1:58 p.m., BRIAN LUMBUS, JR. spoke
with MISEROTTI via telephone. BRIAN LUMBUS, JR. stated, “We have to have everything
for the yellow thing [Isotonitazene] with the dude for the yellow.” And MISEROTTI responded,
“yeah, yeah, yeah.”

75. On September 24, 2023, at approximately 12:59 p.m., BRIAN LUMBUS, JR.
spoke with MISEROTTI via telephone. BRIAN LUMBUS, JR. stated,’All you have to do is
have all the connections lined up and s**t, for the uh, uh.” To which, MISEROTTI said, “The
yellow [Isotonitazene] yeah.”

All in violation of Title 21, United States Code, Section 846,

COUNT 2
(Possession with Intent to Distribute a Fentanyl, 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), and 18
US.C. § 2)
The Grand Jury further charges:

76. On or about October 27, 2022, in the Northern District of Ohio, Eastern Division,
and elsewhere, Defendants BRIAN LUMBUS, JR., AKA B, GIANCARLO MISEROTTL, aka
KARL, BRIANNA LUMBUS, JENNIFER ROBINSON, and WANDA WARD did knowingly
and intentionally possess with intent to distribute a mixture and substance containing 40 grams or
more of fentanyl, a Schedule I controlled substance, in violation of Title 18, United States Code,
Section 2 and Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B).

COUNT 3
(Possession with Intent to Distribute Controlled Substances, 21 U.S.C. §§ 841(a)(1) and

(b)(1)(C), and 18 U.S.C. § 2)
The Grand Jury further charges:

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77, On or about October 27, 2022, in the Northern District of Ohio, Eastern Division,
and elsewhere, Defendants BRIAN LUMBUS, JR., AKA B, GIANCARLO MISEROTTLI, aka
KARL, BRIANNA LUMBUS, JENNIFER ROBINSON, and WANDA WARD did knowingly
and intentionally possess with intent to distribute a mixture and substance containing a detectable
amount of fluorofentanyl, a Schedule I controlled substance, and methamphetamine, a Schedule
II controlled substance, in violation of Title 18, United States Code, Section 2 and Title 21,
United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 4
(Attempted Possession with Intent to Distribute a Controlled Substance, 21 U.S.C. §§ 841(a)(1),
(b)(1)(C), 846, and 18 U.S.C. § 2)
The Grand Jury further charges:

78. On or about January 10, 2023, in the Northern District of Ohio, Eastern Division,
and elsewhere, Defendants BRIAN LUMBUS, JR. and BRIANNA LUMBUS did knowingly and
intentionally attempt to possess with the intent to distribute a mixture and substance containing a
detectable amount of alpha-PiHP, a Schedule I controlled substance, in violation of Title 18,
United States Code, Section 2 and Title 21, United States Code, Sections 841(a)(1), (b)(1)(C),
and 846.

COUNT 5
(Possession with Intent to Distribute a Controlled Substance, 21 U.S.C. §§ 841(a)(1) and
(b)(1)(C), and 18 U.S.C. § 2)
The Grand Jury further charges:

79. Beginning on or about January 30, 2023, and continuing through on or about

January 31, 2023, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendants

BRIAN LUMBUS, JR., BRIANNA LUMBUS and LATASHA HARRIS did knowingly and

intentionally possess with intent to distribute a mixture and substance containing a detectable

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amount of ADB-BUTINACA, a Schedule I controlled substance, in violation of Title 18, United
States Code, Section 2 and Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).
COUNT 6
(Posséssion with Intent to Distribute Controlled Substances, 21 U.S.C. §§ 841(a)(1) and
(b)(1)(B), and 18 U.S.C. § 2)
The Grand Jury further charges:

80. Beginning on or about January 30, 2023, and continuing through on or about
January 31, 2023, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendants
BRIAN LUMBUS, JR., BRIANNA LUMBUS and LATASHA HARRIS did knowingly and
intentionally possess with intent to distribute a mixture and substance containing a detectable
amount of Buprenorphine and Naloxone, Schedule III controlled substances, in violation of Title
18, United States Code, Section 2 and Title 21, United States Code, Sections 841(a)(1) and
(b)(1)).

COUNT 7
(Possession with Intent to Distribute Controlled Substances, 21 U.S.C. §§ 841(a)(1) and
(b)(1)(C), and 18 U.S.C. § 2)
The Grand Jury further charges:

81. | Beginning on or about February 3, 2023, and continuing through on or about
February 5, 2023, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendants
BRIAN LUMBUS, JR., BRIANNA LUMBUS and JENNIFER ROBINSON did knowingly and
intentionally possess with intent to distribute a mixture and substance containing a detectable
amount of N-cyclohexyl Methylone and alpha-PiHP, Schedule I controlled substances, and
fentanyl, a Schedule II controlled substance, in violation of Title 18, United States Code, Section

2 and Title 21, United States Code, Sections 841(a)(1) and (b)(1)(C).

COUNT 8
(Interstate Travel in Aid of Racketeering, 18 U.S.C. § 1952(a)(3) and 2)

The Grand Jury further charges:

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82. Beginning on or about April 28, 2016, and continuing through on or about August
21, 2023, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendants BRIAN
LUMBUS, JR., aka B, GIANCARLO MISEROTTI, aka KARL, BRIANNA LUMBUS,
JENNIFER ROBINSON, LATASHA HARRIS, DOMINIQUE HAMMOND, WANDA WARD,
MARCHELLO LUMBUS, aka CHELLO, and JESSICA COCHRAN used the mail, with the
intent to promote, manage, establish, carry on, and facilitate the promotion, management,
establishment, and carrying on of an unlawful activity, to wit: a business enterprise involving
the distribution of N-cyclohexyl Methylone and alpha-PiHP, Schedule I controlled substances,
and fentanyl, a Schedule II controlled substance, and Buprenorphine and Naloxone, Schedule LI
controlled substances, in violation of Title 21, United States Code, Sections 846 and 841(a)(1),
and BRIAN LUMBUS, JR., aka B, GIANCARLO MISEROTTI, aka KARL, BRIANNA
LUMBUS, JENNIFER ROBINSON, LATASHA HARRIS, DOMINIQUE HAMMOND,
WANDA WARD, MARCHELLO LUMBUS, aka CHELLO, and JESSICA COCHRAN
thereafter performed and attempted to perform an act to promote, manage, establish and carry on,
and to facilitate the promotion, management, establishment and carrying on of such unlawful
activity, in violation of Title 18, United States Code, Sections 1952(a)(3) and 2.

COUNT 9
(International Money Laundering Conspiracy, 18 U.S.C. §§ 1956(a)(2)(B)(i) and (h))

The Grand Jury further charges:

83. Beginning on or about April 28, 2016, and continuing through on or about August
21, 2023, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendants BRIAN
LUMBUS, JR., aka B, GLANCARLO MISEROTTI, aka KARL, BRIANNA LUMBUS,
KAYLA S. GOQUDLOCK, DOMINIQUE HAMMOND, MARCHELLO LUMBUS, aka

CHELLO, JESSICA COCHRAN, and BRAISIA LUMBUS, the defendants herein, did

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knowingly and intentionally combine, conspire, and agree with each other and with other persons
known and unknown to the Grand Jury to commit offenses against the United States in violation
of Title 18, United States Code, Section 1956, to wit: transport, transmit, transfer, and attempt to
transport, transmit, transfer monetary instruments and funds, that is United States currency, from
a place in the United States, that is the State of Ohio to a place outside the United States, that is
Italy, knowing that the monetary instruments involved in the transportation represented the
proceeds of some form of unlawful activity and knowing that such transportation was designed
in whole and in part to conceal and disguise the nature, location, source, ownership, and control
of the proceeds of specified unlawful activity, to wit: the distribution of controlled substances, in
violation of Title 18, United States Code, Section 1956(a)(2)(B)(i).

All in violation of Title 18, United States Code, Sections 1956(h) and 2.

COUNTS 10-34
(Use of a Communications Facility to Facilitate a Felony Drug Offense, 21 U.S.C. § 843(b))

The Grand Jury further charges:

84. On or about the dates listed below, in the Northern District of Ohio, Eastern
Division, and elsewhere, the Defendants listed below did knowingly and intentionally use a
communication facility, to wit: a telephone, to facilitate acts constituting a felony under Title 21,

United States Code, Sections 846 and 841(a)(1):

Count | Defendants Date Time (EST)

10 BRIAN LUMBUS, JR., aka B, April 8, 2019 1:21 p.m.
GIANCARLO MISEROTTI, aka
KARL,

DOMINIQUE HAMMOND,

11 BRIAN LUMBUS, JR., aka B, September 6, 2020 8:26 a.m.
DOMINIQUE HAMMOND,

12 BRIAN LUMBUS, JR., aka B, September 7, 2020 8:54 a.m.
DOMINIQUE HAMMOND,

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BRIAN LUMBUS, JR., aka B,
GIANCARLO MISEROTTI, aka
KARL

June 11, 2021

7:48 a.m.

14

BRIAN LUMBUS, JR., aka B,
MARCHELLO LUMBUS, aka
CHELLO,

JESSICA COCHRAN,

July 9, 2021

1:00 p.m.

15

BRIAN LUMBUS, JR., aka B,
MARCHELLO LUMBUS, aka
CHELLO,

JESSICA COCHRAN,

July 11, 2021

2:21 p.m.

16

BRIAN LUMBUS, JR., aka B,
GIANCARLO MISEROTTI, aka
KARL,

July 19, 2021

11:22 a.m.

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BRIAN LUMBUS, JR., aka B,
GIANCARLO MISEROTTI, aka
KARL,

BRIANNA LUMBUS,

October 5, 2022

6:12 p.m.

18

BRIAN LUMBUS, JR., aka B,
GIANCARLO MISEROTTY, aka
KARL,

BRIANNA LUMBUS,
JENNIFER ROBINSON,

October 5, 2022

6:23 p.m.

19

BRIAN LUMBUS, JR., aka B,
BRIANNA LUMBUS,
LATASHA HARRIS,

October 5, 2022

10:52 p.m.

20

BRIAN LUMBUS, JR., aka B,
WANDA WARD.,

October 7, 2022

12:15 p.m.

21

BRIAN LUMBUS, JR., aka B,
DOMINIQUE HAMMOND,

October 11, 2022

8:20 p.m.

22

BRIAN LUMBUS, JR., aka B,
GIANCARLO MISEROTTI, aka
KARL,

BRIANNA LUMBUS,

October 12, 2022

6:46 p.m.

23

BRIAN LUMBUS, JR., aka B,
GIANCARLO MISEROTTI, aka
KARL,

BRIANNA LUMBUS,

October 12, 2022

8:30 p.m.

24

BRIAN LUMBUS, JR., aka B,
WANDA WARD

October 13, 2022

2:35 p.m.

25

BRIAN LUMBUS, JR., aka B,
JENNIFER ROBINSON,

October 22, 2022

1:10 a.m.

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26 BRIAN LUMBUS, JR., aka B, October 29, 2022 5:49 p.m.
BRIANNA LUMBUS,

27 BRIAN LUMBUS, JR., aka B, November 1, 2022 12:38 p.m.
GIANCARLO MISEROTTI, aka
KARL

28 | BRIANLUMBUS, JR., aka B, December 14, 2022 2:49 pm.
GIANCARLO MISEROTTI, aka
KARL,

BRIANNA LUMBUS,

29 BRIAN LUMBUS, JR., aka B, January 30, 2023 7:46 pa.m.
LATASHA HARRIS,

30 BRIAN LUMBUS, JR., aka B, February 4, 2023 8:16 p.m.
BRIANNA LUMBUS,
JENNIFER ROBINSON,

31 BRIAN LUMBUS, JR., aka B, March 27, 2023 11:33 a.m.
GIANCARLO MISEROTTI, aka
KARL

32 BRIAN LUMBUS, JR., aka B, March 27, 2023 11:56 a.m.
MARCHELLO LUMBUS, aka
CHELLO,

33 BRIAN LUMBUS, JR., aka B, August 26, 2023 1:58 p.m.
MARCHELLO LUMBUS, aka
CHELLO,

34 BRIAN LUMBUS, JR., aka B, September 24, 2023 12:59 p.m.
MARCHELLO LUMBUS, aka
CHELLO,

All in violation of Title 21, United States Code, Section 843(b).
FORFEITURE
The Grand Jury further charges:

85. The allegations contained in Counts 1-24 of this Indictment are hereby re-alleged
and incorporated by reference as if fully set forth herein for the purpose of alleging forfeiture
pursuant to the provisions of Title 21, United States Code, Section 853 (drug offenses); Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c)
(interstate travel in aid of racketeering offense); and Title 18, United States Code, Section

982(a)(1) (money laundering offense). As a result of these offenses, Defendants BRIAN

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LUMBUS, JR., aka B, GIANCARLO MISEROTTI, aka KARL, BRIANNA LUMBUS,

KAYLA 8S. GOUDLOCK, JENNIFER ROBINSON, LATASHA HARRIS, DOMINIQUE
HAMMOND, WANDA WARD, MARCHELLO LUMBUS, aka CHELLO, JESSICA
COCHRAN, and BRAISIA LUMBUS shall forfeit to the United States: (i) any and all property
constituting, or derived from, any proceeds they obtained, directly or indirectly, as the result of
the drug offenses; (ii) any and all of their property used or intended to be used, in any manner or
part, to commit or to facilitate the commission of the drug offenses; (iii) all property, real and
personal, which constitutes, or is derived from, proceeds traceable to the interstate travel in aid of
racketeering offense; and, (iv) all property, real and personal, involved in the money laundering
offense, and all property traceable to such property.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

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